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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-56 (CKK)
       v.                                    :
                                             :
WILLIAM VOGEL,                               :
                                             :
                Defendant.                   :


       GOVERNMENT’S NON-OPPOSITION TO DEFENDANT’S MOTION FOR
              RELEASE WHILE HE APPEALS HIS SENTENCE

       The defendant asks this Court for release and stay of the execution of his sentence while

he appeals the Court’s sentence, specifically the legality of the Court’s imposition of a “split

sentence”—a period of incarceration followed by a period of supervision—on the class B

misdemeanor to which he pleaded guilty, 40 U.S.C. § 5104(d). ECF 63.

       The United States does not oppose the defendant’s request. The United States agrees that

United States v. Perholtz, 836 F.2d 554 (D.C. Cir. 1987) provides the relevant standard and that

the legality of split sentences for a defendant convicted of a single petty-offense conviction is a

“close question or one that very well could be decided the other way.” Id. at 555. Accordingly, it

is appropriate to allow the defendant to remain out on bond, pursuant to 18 U.S.C. § 3143(b)(1),

pending appeal.

       Whether the defendant may appeal notwithstanding the appellate waiver in his plea

agreement also presents a sufficiently “close question” to warrant release pending appeal. As

relevant here, the plea agreement generally precludes appeal of a sentence unless that sentence

exceeds the “statutory maximum.” See ECF 51 at 4-5; see also United States v. Guillen, 561 F.3d

527, 531 (D.C. Cir. 2009) (appeal waiver does not preclude a defendant from challenging “a

sentence that is unlawful because it exceeds the statutory maximum”). The defendant may contend
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that the split sentence—imprisonment and probation—exceeded the “maximum” permitted under

the relevant statutes. Alternatively, the defendant may argue that the plea agreement did not

unambiguously foreclose his sentencing claim. See Brief for Appellant, United States v. Little,

No. 22-3018, at 38-40 (D.C. Cir.) (filed July 28, 2022).         It should be understood that in

acknowledging a “close question” on this question, the government neither concedes the appellate

waiver does not apply here nor implies that it will not seek to enforce the appellate waiver in this

case.




                                              Respectfully submitted,

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